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                     EXH. 5
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                              jon Husted
                               Ohio Secretary of State
                              180 East Broad Strest, 16th Floor
                              Columbus, Ohia 43215
                              TeL• (877j 767-6446 Fax.(614} 644-0649
                              www.OhiaSecretaryofState.gav


                                         Notice of Receipt




      Date of Service: 1/16/2018                         Case Number: 3.17-CV-00072-
      NKM


                           Elizabeth Sines et al VERSUS Jason Kessler et al


      The Secretary of State of Ohio received service of process, notice or demand as the
      statutory agent for Moonbase Holdings, LLC at 6827 N. High St., Ste 121, Worthington,
      OH,43085 under Section 1706.05 of the Ohio Revised Code. Service was forwarded via
      certified mail to any available address of the company and the address set forth in the
      affidavit.

                                                        Sincerely,


                                                             ~r      F '~ ,


                                                        Jon Husted
                                                        Secretary of State




      lmf
      9507
